Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 1 of 17




                                                            Defendant's
                                                             Exhibit
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Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 2 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 3 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 4 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 5 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 6 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 7 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 8 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 9 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 10 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 11 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 12 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 13 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 14 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 15 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 16 of 17
Case 1:20-cr-01210-JAP Document 45-1 Filed 08/16/20 Page 17 of 17
